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               IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                  Plaintiff,                             8:13-CR-244

vs.
                                              MEMORANDUM AND ORDER
FROILAN CUEVAS,

                  Defendant.

      This matter is before the Court on the defendant Froilan Cuevas'
Motion to Dismiss (filing 63) and the United States Magistrate Judge's
Findings and Recommendation (filing 114), recommending that Cuevas'
motion be denied. Cuevas has timely objected (filing 117) to the Findings and
Recommendation. As the Court explains below, the Magistrate Judge's
Findings and Recommendation will be adopted, Cuevas' motion denied, and
his objection overruled.

                                  ANALYSIS
      Cuevas is charged in a multi-count indictment with three other
defendants. Only Counts I and II are relevant to the matter before the Court.
Count I alleges that the three other defendants (along with other persons
known and unknown) conspired to distribute and possess with intent to
distribute 500 grams or more of a mixture or substance containing a
detectable amount of methamphetamine, in violation of 21 U.S.C. §§ 841 and
846. That conspiracy was alleged to have run from March 2013 to May 24,
2013. Filing 1 at 1. Count II alleges that Cuevas conspired with persons
known and unknown to distribute and possess with intent to distribute the
same controlled substance from the same dates. However, Count II does not
allege that any particular quantity of controlled substances was involved.
Filing 1 at 1–2.
      Cuevas previously filed a Motion for Bill of Particulars, arguing among
other things that it was not clear whether he was charged with participating
in one or several conspiracies. Filing 50. At a hearing on that motion, counsel
for the government stated that the government was alleging one overall
conspiracy encompassing all four defendants, but that Cuevas was charged
separately to subject him to a lower statutory penalty. Filing 55 at 3:00–4:30.
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       In the pending motion to dismiss, Cuevas argues that if both counts
allege the same conspiracy, the indictment is multiplicious, and he therefore
requests that Count II be dismissed. The Magistrate Judge correctly found
Cuevas' argument to be without merit.
       A multiplicious indictment is one charging the same offense in more
than one count. United States v. Mann, 701 F.3d 274, 285 (8th Cir. 2012). The
principal danger raised by a multiplicious indictment is the possibility that
the defendant will receive more than one sentence for a single offense, in
violation of the Double Jeopardy Clause of the Fifth Amendment. Id.; United
States v. Hinkeldey, 626 F.3d 1010, 1013 (8th Cir. 2010). But as the
Magistrate Judge correctly found, Cuevas is in no danger of being twice
convicted of the same offense—Cuevas is not named in Count I of the
indictment and therefore cannot be convicted of Count I.
       Cuevas further argues that, should this case proceed to trial, a jury
might be confused by the existence of two counts covering the same
conspiracy. This Court again concurs with the Magistrate Judge that any
potential juror confusion may be avoided through properly crafted jury
instructions. Accordingly,

     IT IS ORDERED:

     1.    The Magistrate Judge's Findings and Recommendation
           (filing 114) are adopted.

     2.    The defendant's Motion to Dismiss (filing 63) is denied.

     3.    The defendant's objection (filing 117) is overruled.

     Dated this 20th day of November, 2013.

                                           BY THE COURT:



                                           John M. Gerrard
                                           United States District Judge




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